Case:18-05288-EAG11 Doc#:304 Filed:01/22/20 Entered:01/22/20 20:28:59                Desc: Main
                           Document Page 1 of 2



                            UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                               CASE NO. 18-05288 (EAG)
        SKYTEC, INC.

               Debtor                                          CHAPTER 11



                      MOTION SUBMITTING FEASIBILITY REPORT


        TO THE HONORABLE COURT:

               COMES NOW Debtor through its undersigned counsel and very respectfully

        states and prays:

               1.     The hearing on the confirmation of Debtor’s Plan of Reorganization

        (the “Plan”) is scheduled for January 30, 2020 at 9:30AM.

               2.     Debtor is attaching hereto its Feasibility Report prepared by CPA

        Luis R. Carrasquillo & Co., P.S.C., reflecting the feasibility of the Plan and that it

        meets the best interest test of Section 1129(a)(7) of the Bankruptcy Code.

               WHEREFORE, it is respectfully requested that this Court takes notice of

        the above.

               CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF

        systems, which will send notification of such filing to the Office of the United

        States Trustee, and all participants of CM/EMF.


               San Juan, Puerto Rico, this 22nd day of January, 2020.
Case:18-05288-EAG11 Doc#:304 Filed:01/22/20 Entered:01/22/20 20:28:59       Desc: Main
                           Document Page 2 of 2
        Skytec, Inc.
        Motion Submitting Feasibility Report                                Page ! 2
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                                              s/ Alexis Fuentes-Hernández, Esq.
                                              Alexis Fuentes-Hernández, Esq.
                                              USDC-PR 217201

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